STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COUNTY

Kevin J. Renken
2020 N. Lincoln Park West, 29E
Chicago IL 60614,
                            Plaintiff,                       Case No.:
v.                                                           Case Code: 30106
                                                             Intentional tort
Board of Regents of the
University of Wisconsin System
1220 Linden Drive
Madison, WI 33706,

University of Wisconsin- Milwaukee
3271 N. Lake Drive
Milwaukee, WI 53211,

Mark Mone
Chapman Hall, Room 202
2310 E. Hartford Ave
Milwaukee, WI 53201, and

John Boyland
3200 N. Cramer St., EMS 925
Milwaukee, WI 53211,
                           Defendants.


                                           SUMMONS


THE STATE OF WISCONSIN
To each person named above as a Defendant:

        You are hereby notified that the plaintiff named above has filed a lawsuit or other legal
action against you. The complaint, which is attached, states the nature and basis of the legal
action.

       Within forty-five (45) days of receiving this summons, you must respond with a written
answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the complaint. The
court may reject or disregard an answer that does not follow the requirements of the statutes. The
answer must be sent or delivered to the court, whose address is:


                                          Clerk of Circuit Court



                                                                                    Exhibit 1- 001
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                                     Milwaukee County Court House
                                      901 N. 9th Street, Room 104
                                      Milwaukee, WI 53233-1425

and to Ralph J. Ehlinger, plaintiff's attorney, whose address is:

                                          Ralph J. Ehlinger
                                      Ehlinger Law Office, LLC
                                  W175 N11117 Stonewood Drive #212
                                  Germantown, Wisconsin 53022-6506

       You may have an attorney help or represent you.

        If you do not provide a proper answer within 45 days, the court may grant judgment
against you for the award of money or other legal action requested in the complaint, and you may
lose your right to object to anything that is or may be incorrect in the complaint. A judgment
may be enforced as provided by law. A judgment awarding money may become a lien against
any real estate you own now or in the future, and may also be enforced by garnishment or seizure
of property.

                                Dated this 30th day of July, 2019.


                                Electronically signed by Ralph J. Ehlinger
                                Ralph J. Ehlinger
                                State Bar No.: 1010432
                                EHLINGER LAW OFFICE, LLC
                                W175 N11117 Stonewood Drive #212
                                Germantown, WI 53022-6506
                                Telephone: (262) 255-5060
                                Facsimile: (262) 255-5553
                                ralph@ehlingeradvocates.com
                                Attorney for Plaintiff




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                                                                                 Exhibit 1- 002
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STATE OF WISCONSIN CIRCUIT COURT MILWAUKEE COUNTY

Kevin J. Renken
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                              Defendants.


                                         COMPLAINT


       The plaintiff, by his attorney, Ralph J. Ehlinger, of Ehlinger Law Office, LLC, alleges the

following as his complaint against the defendants:

       1.       The plaintiff is a tenured Associate Professor of Mechanical Engineering at the

University of Wisconsin-Milwauke                                                                  a

resident of the State of Illinois residing at 2020 N. Lincoln Park West, 29E, Chicago IL 60614.

       2. UWM is an institution within the University of Wisconsin System created by the State



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                                                                                  Exhibit 1- 003
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of Wisconsin under Chapter 36 of the Wisconsin Statutes and Article X, Section 6 of the

Wisconsin Constitution and as such is a branch of the government of the State of Wisconsin.

        3. The Board of Regents of the University of Wisconsin System is the body created by

statute to oversee and manage the University of Wisconsin System, including UWM.

        4. Mark Mone is the Chancellor of UWM and as such is the executive head of that

institution and of its faculty and is responsible, inter alia

institutional standards for faculty peer evaluation and screening candidates for appointment,

promotion and tenure, recommending individual merit increases, [and] administering associated

auxiliary services. (Wis.Stat. §36.09 (3)).

        5. John Boyland is a professor at UWM and at all times referred to herein was the chair



Cramer St., EMS 925, Milwaukee, WI 53211.

        6. On February 21, 2019, eight members of the UWM Department of Mechanical

Engineering filed a complaint against Professor Renken with the UWM University Committee,

 for FRRC Consideration, alleging that he had engaged in disruptive, abusive, and bullying

           and asking that discipline be imposed in accordance with the UWM Policies and

Procedures.

        7. Professor Renken received a copy of the complaint, 73 pages in all including 66 pages

of exhibits, on February 28 with a forwarding memorandum of that date from the chair of the

University Committee to the members of the FRRC                 Enclosed is a copy of a complaint

against Associate Professor Kevin R              The University Committee is submitting this to

your committee for consideration. Thank you for your efforts to expedite this matter in a timely


                                                  -4-


                                                                                    Exhibit 1- 004
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       8. On March 3, Professor Renken sent a memorandum to Professor Boyland as chair of

the FRRC, advising him that he had previously filed a complaint alleging discrimination,

bullying and harassment against these same complainants with the Office of Equity/Diversity

Services that had been pending unresolved since April, 2018, pointing out that the UWM

Discriminatory Conduct/Consensual Relationships Policy prohibited

individuals who engage in protected activities, including filing complaints or participating as a

                                                                            vestigation, it is

critically important that you avoid any conduct that

Professor Boyland if he could share this new FRRC complaint with the Office of

Equity/Diversity Services.

       9. Professor Boyland                                             ,

 might negatively impact you and/or may be considered retaliatory against others.

       10. On March 6 the complainants furnished 23 pages of additional materials supporting

their complaint to Professor Boyland. Professor Renken, however, did not receive these

materials until April 2.

       11. On April 16 Professor Renken delivered his written response to the complaint to

Professor Boyland.

       12. On April 30, Professor

Professor Renken.

       13. In his transmission memorandum Professor Boyland stated that written responses to

the tentative conclusions could be filed within 10 working days and advised the parties


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                                                                                     Exhibit 1- 005
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you do not agree with the conclusions, please indicate which parts of the conclusions you

disagree with in                                               if there is no agreement between the

parties to the FRRC conclusions, the FRRC may invoke formal fact-finding procedures in

conformity with P&P 5.45 (3). (emphasis added.)

       14. The tentative conclusions of the FRRC recommended the following discipline:

               a)         That for the academic year 2019-20 Professor Renken be excluded from

                    attending faculty meetings or serving on any departmental or college

                    committee;

               b)         That he participate in counseling through the Employee Assistance

                    Program;

               c)         That the Dean of the College of Engineering and Applied Sciences contact

                    the Ombuds Office to address problems of intra-departmental communication;

               d)         That a letter of reprimand be placed in Pr

                    and

               e)         That a future complaint for substantially similar behavior would be

                    referred to the chancellor for consideration of dismissal.

       15. On May 14, Professor Renken emailed a written response to the conclusions to

Professor Boyland, stating I disagree with the conclusions. The attachment highlights my

disagreements He attached a printout of the tentative conclusions, highlighting in yellow those

with which he disagreed.

       16. Professor Boyland responded on May 14 with an email thanking Professor Renken for

his response, followed by a second email


                                                  -6-


                                                                                     Exhibit 1- 006
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the highlighted regions [sic], please send a separate documen

         17. Professor Renken responded in emails on May 15 stating

commentary in the April 30, 2019 memorandum                     had followed the instructions to

communicate the parts of conclusions with which he disagreed. Professor Boyland responded

that same day: you are correct that we

         18. On that same day, May 15, at 11:58 AM Professor Boyland sent an email to the

parties attaching each of their responses to the tentative conclusions and advising them that he

would send them the final determination of the FRRC within 10 days.

         19. The complainants response attached to that May 15 email had been submitted by

Professor Deyang Qu, the principal complainant. It was dated May 6 but had not been previously

furnished to Professor Renken. When he opened it he discovered that it contained allegations,

factual representations, and arguments that had not been included in the complaint he had been

given.

         20. The new allegations included the accusation that he had failed to comply with a past



                                                                    .

         21. These incendiary allegations were false and were even contradicted by exhibits

initially submitted by Dr. Qu to support the complaint.

         22. Based on those newly presented materials, Dr. Qu urged the FRRC to recommend

more severe discipline than it had recommended in its tentative conclusions, including:

                a)      That Professor Renken be suspended from faculty meetings and committee

                     memberships for two academic years rather than one;


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                                                                                   Exhibit 1- 007
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               b)       That he undergo a formal evaluation by a professional;

               c)       That his workload be adjusted from two to three courses per semester per

                    department policy to account for his suspension from committee service

                    activities; and

               d)



       23. Professor Renken immediately emailed to Dr.

reply has introduced new allegati

       24. Unbeknownst to Professor Renken, when Dr. Boyland on May 15 sent him

May 6 additional allegations and his request that more severe discipline be imposed the FRRC

was already in a closed meeting scheduled for that morning to decide the complaint, had

considered those new accusations without Professor Renken having an opportunity to rebut

them, and had already voted to recommend discipline more severe than that recommended in its

own tentative conclusions.

       25. The FRRC recommended that Professor Renken be suspended without pay for two

full academic years.

       26. On May 17, when two days had gone by without a response from Dr. Boyland to his

objection to the new allegations from Dr. Qu, Professor Renken sent the following email to Dr.

Boyland As per UWM P&P 5.45(3), I am invoking my rights to a fair hearing on this

            He did not at this time know that the decision had already been made and that he was

to be suspended without pay for two years.

       27. Dr. Boyland, knowing that the decision had already been made, denied this request


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                                                                                  Exhibit 1- 008
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for a fair hearing, responding that the committee had                                       and

issued its findings to the Chancellor. Section 5.45 is no longer operative at            He further

stated that the committee had also considered whether to invoke formal fact-finding procedures

but had declined to do so, so that the only recourse Professor Renken would now have would be

to file objections with the chancellor. That had to be done in10 working days.

        28. On that same day, May 17, Dr. Boyland submitted                     Final Report (which

Professor Renken had not yet seen) to Chancellor Mone, advising him

recommendations were approved by a unanimous vote of the FRRC on May 15, 2019.

        29. Professor Renken received the Final Report of the FRRC when he received Dr.

           email of May 17 transmitting it to the chancellor.

        30. The findings and recommendations in the Final Report relied heavily on false

accusations in             May 6 supplementation of the record, to which Dr. Renken had not been

able to respond, and when he read it on May 17 he learned for the first time that he would be

unemployed and without income to support his family for two years.

        31. On May 20, 2019, Chancellor Mone acknowledged receipt of the Final Report by

email, with a copy to Professor Renken, advising that any objections would have to be submitted

to him by June 3 and that any objections would have to be based on the record developed by the

FRRC.

        32. Professor Renken retained counsel to represent him in presenting his objections to

the Final Report. Counsel served objections on the chancellor on June 3, arguing:

                 a)

                      policies and procedures of UWM were not supported by the evidence on the


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                                                                                    Exhibit 1- 009
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                    record;

               b)        That the alleged acts consisted of speech protected by the First

                    Amendment to the United States Constitution;

               c)        That the discipline imposed was disproportionate to the gravity of the

                    offenses, even if it had been supported by evidence;

               d)        That Professor Renken had been deprived of fair notice of the charges

                    against him and an opportunity to respond; and

               e)        That Professor Renken had been wrongfully deprived of his right to a fair

                    hearing,

all in violation of the UWM Faculty Rules and Procedures and his right to Due Process under the

Constitution, and asked the chancellor to rule accordingly.

       33.     Finally, counsel requested the chancellor to order the formal fact-finding hearing

Professor Renken had requested as soon as he learned that the record had been supplemented

without notice to him.

       34.



       35. Section UWS 6.01 (2) of the Wisconsin Administrative Code, governing the

                                                   such hearing shall be held at the request of the

chancellor or, if the chancellor invokes a disciplinary action, at the request of the faculty member

             (emphasis added)

       36. In addition to denying the fair hearing the chancellor imposed the following discipline

on Professor Renken:


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                                                                                     Exhibit 1- 010
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       a)       Suspending him without pay for the fall and spring semesters of 2019-2020;

       b)       Cancelling his imminently scheduled fall sabbatical;

       c)       Barring him from being present on the University campus for the duration of the

             suspension;

       d)       Barring him from having any contact with UWM except through the Dean or

             Assistant Dean.

       37.      To support his findings, the denial of a fair hearing, and the discipline he imposed

the chancellor wrongfully relied on matters not in the record of the proceeding, including his

personal interview of at least one of the witnesses, on purported facts the committee had

explicitly excluded from the record and declined to rule on because they were beyond the

                                                                    , and on

personnel files regarding the existence and terms of his pending sabbatical leave.

       38.           Professor Renken was denied due process in that

                a)      He was not given notice of the substantial amendments to the

                charges filed against him,

                b)      He was not given an opportunity to respond to those charges,

                c)      He was not given notice of the decision to recommend his

                suspension without pay until after that decision had been made,

                d)      He was deprived of an opportunity for a hearing at which he could

                have confronted witnesses and presented a meaningful defense,

                e)

                was based on matters not in the record, in vi


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                                                                                     Exhibit 1- 011
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               and procedures,

               f)      He was knowingly and selectively subjected to an expedited and

               retaliatory proceeding while his related complaint against the complainants

               in this proceeding was allowed to languish unattended for two years

               despite his repeated request for action, in violation of his right to equal

               protection of the law, and

               g) The sanctions were based upon prior conduct for which Professor

               Renken had already been disciplined, in violation of UWM Policies and

               Procedures section 5.45(6), which provides that once a committee has



               shall not be charged again for the same misconduct.

       39.          Suspension without pay for two semesters will result in Professor Renken

losing approximately $90,000 in salary plus the loss of benefits the dollar value of which has yet

to be determined.

       40.          Cancellation of his pending sabbatical will force Professor Renken to

abandon or breach the terms of scheduled research and grant fulfillment obligations for which

he has made non-reimbursable expenditures and has undertaken financial commitments, causing

him financial loss and damaging his professional reputation.

       41.          Cancellation of his pending sabbatical and banishment from the university will

also require Professor Renken to breach or defer commitments made with respect to ongoing

research projects and required academic work of PhD candidates and graduate students

dependant on him for continued supervision and advice, thus damaging them by delaying and


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                                                                                      Exhibit 1- 012
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interfering with the completion of their degree requirements and commencement of their careers,

and further damaging his professional reputation.

       42.         Suspension from his teaching assignments for the coming year will

inconvenience and cause disruption to students who have selected courses based on his being the

assigned professor and will further damage his professional reputation.

       43.         Professor Renken has a valuable property right in the uninterrupted

continuation of his salaried position as a tenured associate professor and must be afforded due

process and equal protection of the law under the Wisconsin and federal Constitutions before that

right can be taken away.

       44.         The suspension of employment and class assignments, the loss of pay, and

being prohibited from presence on campus and contact with the university and his students for

two semesters will do substantial and irreparable harm                           professional

reputation and will seriously jeopardize his career as scholar and educator, thereby infringing

upon his liberty interests protected by the due process clause of the federal Constitution.

       45.                                            and must be dismissed because it violated

                                                                          .

       46.         In the alternative, due process requires that Professor Renken be granted a full

hearing on the complaint against him before a fair and impartial tribunal.

       47.         The FRRC and its chair, Professor Boyland, must be disqualified from

serving as the fair and impartial adjudicator of the complaint to which Professor Renken is

entitled, because they evidenced bias, partiality and prejudgment:

        a)     by failing to consider the evidence submitted by Professor Renken that the


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                                                                                    Exhibit 1- 013
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       complaint was commenced in retaliation against a prior still unresolved complaint filed

       against the complainants by Professor Renken,

       b)      by advising him not to pursue that argument lest he be accused of retaliation,

       c)      by failing to advise him of the May 6 supplementation of the record by the

       complainants until day the Final Report was issued,

       d)      by denying his demand for a fair hearing, and

       e)      by failing to exercise its own power to institute a formal investigation and hearing

       process, knowing that he had not had notice of the new charges against him and a

       opportunity to respond.

       48.         The actions of the defendants in suspending                       employment

without pay, barring him from being physically present on the UWM campus, cancelling his

sabbatical, basing that decision on matters not within the record, not giving him notice of the

charges and an opportunity to respond, denying his request for a hearing, and deferring action on

his prior pending complaint were taken under color of state law and deprived him of rights,

privileges and immunities secured by 14th Amendment to the United States Constitution. He is

therefore entitled to equitable relief from the acts of the defendants under 42 U.S.C. §1983.

       49.         Classes for the 2019-2020 fall term begin on September 3 and the faculty

contract year begins on August 19. If the defendants are not restrained from implementing their

action before then, the injury to Professor Renken will become irreparable.

       50.         Professor Renken has no adequate remedy at law.

WHEREFORE, plaintiff prays judgment as follows:

       1)      That a temporary injunction be issued restraining the defendants from suspending


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                                                                                    Exhibit 1- 014
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plaintiff without pay, cancelling his 2019 sabbatical, depriving him of the benefits

incidental to his appointment as an associate professor, and barring his physical presence

on the UWM campus and contact with the University until such time as the court has

                                                            and all rights of appeal

available to either party have been completed or expired;

2)      That the decision of the chancellor be declared void and vacated as having



3)      In the alternative, that the defendants be mandated and enjoined to grant plaintiff a

full hearing before a fair and impartial tribunal;

4)      That the plaintiff be awarded such damages and punitive damages as may be

established at trial;

5)      That plaintiff be awarded his                                                .S.C.

§1988; and

6)      That plaintiff be awarded costs and disbursements and such other relief as the

court may deem equitable and proper.

      Dated this 30th day of July, 2019.

                                        Electronically signed by Ralph J. Ehlinger
                                        Ralph J. Ehlinger
                                        State Bar No. 1010432
                                        EHLINGER LAW OFFICE, LLC
                                        W175 N11117 Stonewood Drive #212
                                        Germantown, WI 53022-6506
                                        Telephone: (262) 255-5060
                                        Facsimile: (262) 255-5553
                                        ralph@ehlingeradvocates.com
                                        Attorney for Plaintiff

                                 JURY DEMAND

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                                                                             Exhibit 1- 015
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THE PLAINTIFF DEMANDS A TRIAL BY A JURY OF TWELVE PERSONS




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                                                          Exhibit 1- 016
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